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                         THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

NEIL HOWE,                                    )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )   Civil Action No.: 1:15-00-874
                                              )
TARA KELLY,                                   )
                                              )
       Defendant.                             )


                               DISMISSAL WITH PREJUDICE

COMES NOW PLAINTIFF, by and through counsel, and Requests this Court Dismiss with

Prejudice all claims against Defendant Tara Kelly, and this action in its entirety. Plaintiff has not

perfected service on Defendant Kelly, and no answer has been filed.

Respectfully Submitted This 20th day of August, 2015.

The Law Offices of Daniel D. Barks, Esq., LLC

__________/s/________
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